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Gercay, May 19, 2023 coat

Harrison County
School District

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EXHIBIT

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Section: 1 Instructional Program
Policy Code: IHFC Graduation Exercises

 

Policy:

The Harrison County School District Board of Education believes that the earning of a high school diploma is a major individual, as well as
community, achievement. Therefore, the board wishes to recognize this achievement in a publicly celebrated graduation exercise. The Board
finds and determines that a high school graduation ceremony is a once-in-a-lifetime occasion to honor those students who have fulfilled the
requirements to graduate, which gives the District's faculty, administration, parents, family and the community as a whole the chance to
publicly recognize the graduation students' achievements. A commencement program is to be held annually for the students in the Harrison
County School District. Participation in the district's formal graduation ceremony shall be limited to senior students who have successfully
completed prescribed secondary school graduation requirements.

Participation by graduation seniors in the commencement exercise is on a voluntary basis. However, since such an exercise requires
planning and rehearsal, it is required that students who wish to participate in the exercise be present at the rehearsal and the student and
parent will be required to sign a Commencement Participation Agreement as a condition to participate in the ceremony and shall be
required to abide by the terms of this policy as a condition to receiving a diploma. If a student refuses to sign a Commencement
Participation Agreement prior to the graduation ceremony, he or she shall not be eligible to participate in the graduation ceremony and shall
be entitled to make arrangements with the administration prior to the graduation ceremony to receive his or her diploma after the
ceremony.

 

Student dress at graduation should reflect the dignity and solemnity of the occasion, Students are expected to wear dress shoes, dress
clothes (dresses or dressy pant-suit for girls and dress pants, shirt, and tie for the boys). Boys shall wear socks. The Board further finds and
determines that a high school‘graduation ceremony is a sacred and inspirational ritual which is intended to be surrounded with decorum of
dignity, grace, solemnity, reverence, pomp and circumstance. In deference to the dignity and solemnity of the graduation ceremony,
students are prohibited from altering their cap or gown by adding any decoration. The cap and gown are to be worn in the manner
intended, Students whose attire does not meet the minimum dress requirements may not be allowed to participate in the graduation
exercises, School authorities will take appropriate measures to remove students from the facilities where graduation is held, Earned
diplomas may be mailed to any student excluded from graduation.

The Board of Education has the duty to ensure the safety of those attending the Harrison County School District Graduation Ceremonies and
to make sure that the conduct of the students participating In the graduation ceremony is consistent with the decorum of the ceremony, in
furtherance of the ultimate educational mission of the schools in the District. In order to assure the graduation ceremony is a safe, reverent
occasion to honor and recognize the graduating students of D'Iberville High School, Harrison Central High School, and West Harrison High
School, any student participating in the graduation ceremony, who in the opinion of the administration, has engaged in any of the following
described behavior before, during, or at the conclusion of the graduation ceremony, shall forfeit his/her claim to receive a diploma from the
Harrison County Schoo! District that evening. Types of behavior of actions occurring before, during, or after the ceremony that would result
in the forfeiture of the diploma include, but not limited to the following:

A. Yelling, name calling, or other verbal outbursts;

B, Possession or use of artificial noise makers;

C. Possession or use of any device intended to disrupt the ceremony (i.e. spray confetti, spray string, fireworks, squirt guns, beach-balls,
etc.)

D. Throwing any objects at any time;

E, Any other form or instance of behavior which causes a disruption of the graduation ceremony or puts the safety of any person in
question,

Any student, who in the opinion of the administration has violated any of the above requirements or has behaved in any manner prohibited
by the aforementioned rules and guidelines, shall not receive a high school diploma from the Harrison County School District.

If in the opinion of the administration, a student is found to have violated the terms of the Commencement Participation Agreement and this
policy, and is not given a diploma pursuant to this policy, the student may appeal the administration's decision to the Board of Education by
giving a written notice by certified mail to the Superintendent of Schools within five (5) calendar days of the graduation ceremony. The

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Board of Education will allow such student to appear at the next regularly scheduled Board meeting and state his/her case to the Board of
Education. Such students may appear at the School Board meeting and may present evidence in defense of his/her actions, The Board will
promptly make a decision to affirm, reverse or modify the administration's decision, and will give the student written notice of such
determination. The Board of Education's decision shall be final.

The Harrison County School District High Schools will not deliver a diploma, signed or unsigned, to a student who fails to meet the
graduation requirements. Students who fail to meet graduation requirements are not permitted to participate in graduation exercises.

Last Review Date: May 16, 2022
Review History: [10/24/16][11/07/16][05/15/17][06/05/17)[02/05/18][02/19/18][03/25/19][04/01/19][02/03/20][02/17/20]
[05/03/21][05/24/21][05/02/22][05/16/22]

Exhibits:
3 Commencement Participation Agreements 2022.pdf

Regulations:

References:
MPSAS - Public School Accountability Standards

Original Adopted Date: 11/7/2016 Status: Adopted
Approved/Revised Date: Record Id: 162064
District Home:

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